

Confession of Error

PER CURIAM.
D.B. petitions for a writ of habeas corpus, seeking release from home detention care with an electronic monitor. In its response, the State confesses error. The State acknowledges that D.B. does not qualify for home detention based on the risk assessment instrument. See § 985.213(2), Fla. Stat. (2002). The statute permits a more restrictive placement than that indicated by the risk assessment instrument, but to do so, “the court shall state, in writing, clear and convincing reasons for such placement.” Id. § 985.215(2)(j). No such reasons were given in this case. Accordingly we grant the petition for writ of habeas corpus and direct that D.B. be released from home detention. See K.C. v. Taylor, 696 So.2d 858 (Fla. 2d DCA 1997); D.G.H. v. Gnat, 682 So.2d 210 (Fla. 1st DCA 1996); cf. R.G. v. State, 817 So.2d 1019 (Fla. 3d DCA 2002) *1220(discussing statute). The court may revisit the issue if there is a basis to do so.
Petition granted.
